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                          UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT

                               DOCKETING STATEMENT



        Appeal Number          22-1409

          Case Name            Menocal, et al. v. The GEO Group, Inc.

          Party or Parties     The GEO Group, Inc.
     Filing Notice of Appeal
            Or Petition

         Appellee(s) or        ALEJANDRO MENOCAL,
         Respondent(s)         MARCOS BRAMBILA,
                               GRISEL XAHUENTITLA,
                               HUGO HERNANDEZ,
                               LOURDES ARGUETA,
                               JESUS GAYTAN,
                               OLGA ALEXAKLINA,
                               DAGOBERTO VIZGUERRA, and
                               DEMETRIO VALERGA,
                               on their own behalf and on behalf of all others similarly
                               situated
  List all prior or related    None
 appeals in this court with
  appropriate citation(s).


I.       JURISDICTION OVER APPEAL OR PETITION FOR REVIEW
         A.     APPEAL FROM DISTRICT COURT
                1.     Date final judgment or order to be reviewed was entered on the
                       district court docket: October 18, 2022
                2.     Date notice of appeal was filed: November 17, 2022
                3.     State the time limit for filing the notice of appeal (cite the specific
                       provision of Fed. R. App. P. 4 or other statutory authority): 30 days.
                       Fed. R. App. P. 4(a)(1)(A)
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              a.     Was the United States or an officer or an agency of the
                     United States a party below? No
              b.     Was a motion filed for an extension of time to file the notice
                     of appeal? If so, give the filing date of the motion, the date of
                     any order disposing of the motion, and the deadline for filing
                     the notice of appeal: No
       4.     Tolling Motions. See Fed. R. App. P. 4(a)(4)(A); 4(b)(3)(A).
              a.     Give the filing date of any motion that tolls the time to appeal
                     pursuant to Fed. R. App. P. 4(a)(4)(A) or 4(b)(3)(A):
                     None
              b.     Has an order been entered by the district court disposing of
                     any such motion, and, if so, when?
                     None
       5.     Is the order or judgment final (i.e. does it dispose of all claims by
              and against all parties)? See 28 U.S.C. § 1291. No
              (If your answer to Question 5 is no, please answer the following
              questions in this section.)

              a.     If not, did the district court direct entry of judgment in
                     accordance with Fed. R. Civ. P. 54(b)? When was this done?
                     No
              b.     If the judgment or order is not a final disposition, is it
                     appealable under 28 U.S.C. § 1292(a)? No
              c.     If none of the above applies, what is the specific legal
                     authority for determining that the judgment or order is
                     appealable? The order at issue is appealable under the
                     collateral order doctrine. See, e.g., Cohen v. Beneficial Loan
                     Corp., 337 U.S. 541, 546 (1949).
       6.     Cross Appeals.
              a.     If this is a cross appeal, what relief do you seek beyond
                     preserving the judgment below? See United Fire & Cas. Co.
                     v. Boulder Plaza Residential, LLC, 633 F.3d 951, 958 (10th
                     Cir. 2011) (addressing jurisdictional validity of conditional
                     cross appeals).
                     N/A
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                    b.     If you do not seek relief beyond an alternative basis for
                           affirmance, what is the jurisdictional basis for your appeal?
                           See Breakthrough Mgt. Group, Inc. v. Chukchansi Gold
                           Casino and Resort, 629 F.3d 1173, 1196-98 and n.18 (10th
                           Cir. 2010) (discussing protective or conditional cross
                           appeals). N/A
       B.    REVIEW OF AGENCY ORDER (To be completed only in connection
             with petitions for review or applications for enforcement filed directly with
             the court of appeals.)

             1.     Date of the order to be reviewed: N/A
             2.     Date petition for review was filed: N/A
             3.     Specify the statute or other authority granting the Tenth Circuit
                    Court of Appeals jurisdiction to review the order: N/A
             4.     Specify the time limit for filing the petition (cite specific statutory
                    section or other authority): N/A ____________________________
       C.    APPEAL OF TAX COURT DECISION

             1.     Date of entry of decision appealed: N/A
             2.     Date notice of appeal was filed: N/A _________________________
                    (If notice was filed by mail, attach proof of postmark.)

             3.     State the time limit for filing notice of appeal (cite specific statutory
                    section or other authority): N/A
             4.     Was a timely motion to vacate or revise a decision made under the
                    Tax Court’s Rules of Practice, and if so, when? See Fed. R.
                    App. P. 13(a) N/A

II.    ADDITIONAL INFORMATION IN CRIMINAL APPEALS.

       A.    Does this appeal involve review under 18 U.S.C. § 3742(a) or (b) of the
             sentence imposed? No
       B.    If the answer to A (immediately above) is yes, does the defendant also
             challenge the judgment of conviction?
       C.    Describe the sentence imposed.
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        D.    Was the sentence imposed after a plea of guilty?
        E.    If the answer to D (immediately above) is yes, did the plea agreement
              include a waiver of appeal and/or collateral challenges?
        F.    Is the defendant on probation or at liberty pending appeal?
        G.    If the defendant is incarcerated, what is the anticipated release date if the
              judgment of conviction is fully executed?



        NOTE:         In the event expedited review is requested and a motion to that
                      effect is filed, the defendant shall consider whether a transcript
                      of any portion of the trial court proceedings is necessary for the
                      appeal. Necessary transcripts must be ordered by completing
                      and delivering the transcript order form to the Clerk of the
                      district court with a copy filed in the court of appeals.

III.    GIVE A BRIEF DESCRIPTION OF THE NATURE OF THE
        UNDERLYING CASE AND RESULT BELOW.

       The underlying case concerns appellant The GEO Group, Inc.’s (“GEO’s”)
operation of the Aurora ICE Processing Center (“AIPC”), pursuant to contracts with the
United States Department of Homeland Security, Immigration and Customs Enforcement
(“ICE”). Plaintiffs claim that GEO’s operation of a Voluntary Work Program (“VWP”),
mandated by its contracts with ICE, resulted in GEO’s unjust enrichment because detainee
participants in the VWP received an allowance of $1.00 per day, which detainee
participants agreed in writing to receive. Plaintiffs also claim that GEO’s development and
enforcement of personal housekeeping requirements, mandated by and implemented in
accordance with its contracts with ICE, constituted forced labor in violation of 18 U.S.C.
§ 1589.

        The merits of those claims, however, are not before this Court. Instead, GEO appeals
an order in which the district court denied its motion for summary judgment based on
derivative sovereign immunity and granted Plaintiff’s motion for final judgment on the
same. See generally Yearsley v. W.A. Ross Const. Co., 309 U.S. 18 (1940). That holding
reflects the district court’s application of an erroneous legal standard, misapprehension of
uncontested facts, and the resulting mistaken conclusion that GEO is not immune from suit
for actions that were authorized and directed by its contracts with a federal agency.
        Correcting the mistaken denial of derivative sovereign immunity will terminate this
litigation. As a result, this Court has jurisdiction to hear the case under the collateral order
doctrine. The Supreme Court has “stressed the importance of resolving immunity questions
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at the earliest possible stage of litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991). It
has therefore applied the collateral order doctrine to various forms of immunity, including
government officials’ claims of absolute immunity. Nixon v. Fitzgerald, 457 U.S. 731
(1982). Derivative sovereign immunity deserves the same immediate review, lest
contractors lose the benefit of immunity from suit. See, e.g., ACT, Inc. v. Worldwide
Interactive Network, Inc., 46 F.4th 489, 497–98 (6th Cir. 2022).
IV.      IDENTIFY TO THE BEST OF YOUR ABILITY AT THIS STAGE OF THE
         PROCEEDINGS, THE ISSUES TO BE RAISED IN THIS APPEAL. You
         must attempt to identify the issues even if you were not counsel below. See
         10th Cir. R. 3.4(B).

      1. Whether this Court has jurisdiction under the collateral order doctrine.

      2. Whether the district court erred in limiting derivative sovereign immunity under
         Yearsley v. W. A. Ross Constr. Co., 309 U.S. 18 (1940), and Campbell-Ewald Co.
         v. Gomez, 136 S.Ct. 663 (2016), to instances in which a contractor’s actions were
         specifically “required by its contractual obligations” and the contractor had no
         “discretion.”

      3. Whether the application of the proper legal standard for derivative sovereign
         immunity to the undisputed facts entitled GEO to summary judgment on Plaintiff’s
         claims for unjust enrichment and forced labor in violation of 18 U.S.C. §1589.

V.       ATTORNEY FILING DOCKETING STATEMENT:
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         s/ Dominic E. Draye________________________      November 30, 2022
         Signature                                        Date
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                         CERTIFICATE OF SERVICE

      I, Dominic E. Draye, hereby certify that on November 30, 2022, I served a

copy of the foregoing Docketing Statement upon all counsel of record via CM/ECF

e-service and email, as follows:

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